




NO. 07-07-0384-CR and 07-07-0385-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 13, 2008

______________________________



RITO L. PEREZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 121ST DISTRICT COURT OF YOAKUM COUNTY;



NO. 2525, 2526; HONORABLE KELLY G. MOORE, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON MOTION TO DISMISS

Before the Court is appellant’s motion to dismiss his appeals pursuant to Rule 42.2 of the Texas Rules of Appellate Procedure. &nbsp;Rule 42.2 states that at any time before the appellate court’s decision, the court may dismiss an appeal upon the appellant’s motion. &nbsp;
Tex. R. App. P.
 42.2(a). &nbsp;The appellant and his attorney must sign the written motion to dismiss. &nbsp;
Id
. &nbsp;

All of the requirements of Rule 42.2(a) have been satisfied. &nbsp;The Court has considered appellant’s motion and concludes the motion should be granted and the appeals should be dismissed.

Accordingly, the appeals are dismissed. &nbsp;No motion for rehearing will be entertained and our mandates will issue forthwith. &nbsp;



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice









Do not publish. &nbsp;&nbsp;




